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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

  UNITED STATES, et al.,                        )
                                                )
                        Plaintiffs,             )
         v.                                     )       No. 1:23-cv-00108-LMB-JFA
                                                )
  GOOGLE LLC,                                   )
                                                )
                        Defendant.              )



                               NOTICE OF PROOFS OF SERVICE

         PLEASE TAKE NOTICE that Plaintiff United States of America hereby files the attached

  trial subpoena proofs of service, for the subpoenas identified below, pursuant to Fed. R. Civ. P.

  45(b)(4) and Local Civil Rule 45.




                                      Subpoena Recipients
                    Adam Soroca
                    Andrew Casale
                    Benneaser John
                    Robert ("Bo") E. Bradbury
                    Brian Boland
                    Brian O'Kelley
                    David Minkin
                    Felix Zeng
                    James Avery
                    Jay Friedman
                    John “Jed” Dederick
                    John Gentry
                    Rajeev Goel
                    Joshua Lowcock
                    Luke Lambert
                    Matthew Wheatland
                    Ryan Pauley
                    Simon Whitcombe
                    Stephanie Layser
                    Tim Cadogan
                                                    1
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                     Tim Wolfe
                     Tom Kershaw
                     Jonathan Bellack
                     Bonita Stewart
                     Brad Bender
                     Sam Cox
                     Chris LaSala
                     Eisar Lipkovitz
                     Scott Spencer
                     Rahul Srinivasan




 Dated: August 21, 2024

 Respectfully submitted,


 /s/ Aaron M. Teitelbaum
 AARON M. TEITELBAUM
 /s/ Milosz Gudzowski
 MILOSZ GUDZOWSKI

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